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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

TERESA WOODS and VIRGIL WOODS, )
                                   )
               Plaintiffs,         )
                                   )
v.                                 ) Court No.: 17-cv-7061
                                   )
LAWRENCE GRAYSON, Individually and )
as an agent and/or employee of PDS ) Honorable Judge Charles R. Norgle, Sr
TRANSPORTATION SERVICES, INC., )
PDS EXPRESS, INC., PD&S,           )
BARR NUNN TRANSPORTATION, INC., )
KNIGHT TRANSPORTATION, INC.,       )
and/or KNIGHT-SWIFT                )
TRANSPORTATION HOLDINGS, INC.; )
PDS TRANSPORTATION SERVICES,       )
INC.; PDS EXPRESS, INC.; PD&S;     )
BARR NUNN TRANSPORTATION, INC.; )
KNIGHT TRANSPORTATION, INC.; and )
KNIGHT-SWIFT TRANSPORTATION        )
HOLDINGS INC.,                     )
                                   )
Defendants,                        )

     STIPULATION OF DISMISSAL WITH PREJUDICE OF ALL DEFENDANTS
        IT IS HEREBY STIPULATED by and between Plaintiffs Teresa Woods and Virgil
Woods and Defendants Lawrence Grayson, PDS Transportation Services, Inc., PDS Express,
Inc., PD&S, Barr Nunn Transportation, Inc., Knight Transportation, Inc., and Knight-Swift
Transportation Holdings, Inc. as follows:
        WHEREAS, this cause of action arises out of a truck versus motor vehicle collision on
Interstate 80 in Des Moines, Iowa on August 21, 2015, which resulted in injuries to Teresa Woods
and Virgil Woods.

       WHEREAS, Plaintiffs Teresa Woods and Birgil Woods filed suit against Defendants,
Lawrence Grayson, PDS Transportation Services, Inc., PDS Express, Inc., PD&S, Barr Nunn
Transportation, Inc., Knight Transportation, Inc., and Knight-Swift Transportation Holdings, Inc.
seeking damages purportedly suffered by the Plaintiffs as a result of the collision.
       WHEREAS, Plaintiffs hereby stipulate and agree to the dismissal of Defendants,
Lawrence Grayson, PDS Transportation Services, Inc., PDS Express, Inc., PD&S, Barr Nunn
Transportation, Inc., Knight Transportation, Inc., and Knight-Swift Transportation Holdings, Inc.
from the above captioned matter WITH PREJUDICE pursuant to Federal Rule of Civil
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Procedure 41(a)(1)(A)(ii) with each Plaintiff and Defendant to bear their own costs and
attorney’s fees.
Dated: June 18, 2019
Respectfully submitted,


___/s/ Larry R. Rogers, Jr._______
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